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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 WELCH ALLYN, INC.,                              )
                                                 )
                       Plaintiff,                )
                                                 )
                v.                               ) C.A. No. 24-224 (MN)
                                                 )
 IRHYTHM TECHNOLOGIES, INC.,                     )
                                                 )
                       Defendant.                )

                                    NOTICE OF SERVICE

       The undersigned hereby certifies that copies of: (1) Defendants’ First Set of Requests for

the Production of Documents and Things (Nos. 1-45) to Plaintiff Welch Allyn, Inc.; and

(2) Defendants’ First Set of Interrogatories to Plaintiff Welch Allyn, Inc. (Nos. 1-9) were caused

to be served on January 15, 2025, upon the following in the manner indicated.

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 January 15, 2025




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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 15, 2025, I electronically filed the foregoing with the Clerk

of the Court using CM/ECF, which will send notification of such filing to all registered

participants.

       I further certify that I caused to be served copies of the foregoing document on

January 15, 2025, upon the following in the manner indicated:

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